                             Case 23-11725-LSS                       Doc 1        Filed 10/13/23             Page 1 of 25

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Gerawan Supply, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              4         7   –      2     6     1       6       8      6    6
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       7700 N. Palm Avenue
                                       Number               Street                                    Number         Street

                                       Suite 206
                                                                                                      P.O. Box
                                       Fresno                             CA           93711
                                          City                            State        Zip Code       City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Fresno County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://prima.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                               Case 23-11725-LSS                   Doc 1         Filed 10/13/23           Page 2 of 25
Debtor            Gerawan Supply, Inc.                                                 Case number (if known)
           Name



                                             A. Check One:
7.   Describe debtor’s business
                                             ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                             ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                             ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                             ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                             ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                             ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                             ☒ None of the above

                                             B. Check all that apply:
                                             ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             1113 (Fruit and Tree Nut Farming)

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

      A debtor who is a “small           ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                  ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                           noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                            $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                         operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                      not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                  ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                         debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                                proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                         balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                         any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                  ☐      A plan is being filed with this petition.
                                                  ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                         accordance with 11 U.S.C. § 1126(b).
                                                  ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                         Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                         the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                         (Official Form 201A) with this form.
                                                  ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                         ☐ Chapter 12

9. Were prior bankruptcy cases           ☒ No         District
   filed by or against the debtor        ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                      District                            When                     Case number
     If more than 2 cases, attach a                                                                  MM/DD/YYYY
     separate list.




     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                             Case 23-11725-LSS                      Doc 1         Filed 10/13/23         Page 3 of 25
Debtor           Gerawan Supply, Inc.                                                 Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                       Relationship    Affiliate
                                                      Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                          District      District of Delaware
   List all cases. If more than 1,                                                                                   When            10/13/2023
   attach a separate list.                          Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this       Check all that apply:
    district?
                                        ☐   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        ☒   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?
                                                  ☐     It needs to be physically secured or protected from the weather.

                                                  ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                         other options).
                                                  ☐     Other


                                                  Where is the property?
                                                                                           Number       Street



                                                                                           City                              State       Zip Code



                                                  Is the property insured?
                                                  ☐ No

                                                  ☐ Yes.         Insurance agency

                                                                 Contact name
                                                                 Phone




                  Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐       1-49                         ☒     1,000-5,000                      ☐     25,001-50,000
    creditors (on a                  ☐       50-99                        ☐     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)              ☐       100-199                      ☐     10,001-25,000                    ☐     More than 100,000
                                     ☐       200-999




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
                              Case 23-11725-LSS                   Doc 1         Filed 10/13/23            Page 4 of 25
Debtor            Gerawan Supply, Inc.                                                Case number (if known)
          Name



15. Estimated assets (on a            ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☒    $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on         ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)             ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         10/13/2023
                                                               MM/ DD / YYYY


                                               /s/ John Boken                                                     John Boken
                                               Signature of authorized representative of debtor                Printed name

                                               Title   Chief Executive Officer




18. Signature of attorney                      /s/ Joseph Barry                                               Date        10/13/2023
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Joseph Barry
                                               Printed name
                                               Young Conaway Stargatt & Taylor, LLP
                                               Firm name
                                               1000 North King Street
                                               Number                 Street
                                               Wilmington                                                             Delaware          19801
                                               City                                                                   State               ZIP Code

                                               (302) 571-6600                                                         jbarry@ycst.com
                                               Contact phone                                                               Email address
                                               4221                                                Delaware
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                             District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                            Chapter   11                                         amended filing


                                                    Rider 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of MVK FarmCo LLC.

    •    MVK FarmCo LLC
    •    MVK Intermediate Holdings LLC
    •    Gerawan Farming LLC
    •    Gerawan Supply, Inc.
    •    Gerawan Farming Partners LLC
    •    Gerawan Farming Services LLC
    •    Wawona Farm Co. LLC
    •    Wawona Packing Co. LLC
    •    GFP LLC
                   Case 23-11725-LSS          Doc 1        Filed 10/13/23   Page 6 of 25



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                       )
    In re:                                             )      Chapter 11
                                                       )
    GERAWAN SUPPLY, INC.,                              )      Case No. 23-___________(___)
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS 1

                                                                                       Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                        Equity Held
                                             7700 N. Palm Avenue, Suite 206,
      MVK Intermediate Holdings LLC                                                        100%
                                                   Fresno, CA 93711




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
                Case 23-11725-LSS           Doc 1         Filed 10/13/23   Page 7 of 25



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 GERAWAN SUPPLY, INC.,                                )      Case No. 23-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

              Shareholder                                 Approximate Percentage of Shares Held
 MVK Intermediate Holdings LLC                                           100%
                                     Case 23-11725-LSS                   Doc 1      Filed 10/13/23              Page 8 of 25


      Fill in this information to identify the case:

      Debtor name               MVK FarmCo LLC, et al.
                                        District of Delaware
      United States Bankruptcy Court for the:

      Case number (If known):
                                                                                                                                  Check if this is an
                                                                                                                                         amended filing




Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and     Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor       (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                         debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                 professional          unliquidated, total claim amount and deduction for value of
                                                                                 services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if     Deduction for    Unsecured
                                                                                                                       partially           value of         claim
                                                                                                                       secured             collateral or
                                                                                                                                           setoff

1    MCKINSEY & COMPANY, INC
                                                P: 314 529-8780
     PO BOX 7247-7255                                                            TRADE PAYABLE                                                              $8,040,000.00
                                                F:
     PHILADELPHIA, PA 19170-7255
                                                lauren_oliver@mckinsey.com

2    GEORGIA- PACIFIC FINANCIAL
     MGMT LLC                                   P: 569-647-5614
                                                                                 TRADE PAYABLE                                                              $3,919,345.34
     PO BOX 743348                              F:
     LOS ANGELES, CA 90074-3348                 jmantoni@gapac.com

3    BRIFO LAND LLC
     AG PARTNERS                                P: 303-408-7411
                                                F:                      LANDLORD                                                                            $2,674,010.59
     2679 WEST MAIN ST STE300-346
     LITTLETON, CO 80120                        KATIE@AGPARTNERS.CAPITA
                                                L
4    VERITIV OPERATING COMPANY
                                                P: 559-307-5819
     PO BOX 57006                                                                TRADE PAYABLE                                                              $1,360,883.34
                                                F:
     LOS ANGELES, CA 90074-7006
                                                brett.karraker@veritivcorp.com

5    IFCO SYSTEMS NA
                                                P: 559-400-7998
     PO BOX 846041                                                               TRADE PAYABLE                                                               $536,831.52
                                                F:
     DALLAS, TX 75284-6041
                                                rpcorders@ifco.com

6    CAIN TRUCKING, INC
                                                P: 559-686-5707
     23004 ROAD 140                                                              TRADE PAYABLE                                                               $535,670.40
                                                F:
     TULARE, CA 93274
                                                laura@caintrucking.com

7    NUTRIEN AG SOLUTIONS, INC
                                                P: 559-233-0585
     3173 S CHESTNUT                                                             TRADE PAYABLE                                                               $520,120.19
                                                F:
     FRESNO, CA 93725
                                                rita.canales@nutrien.com

8    QUICKBASE INC                              P: 855-725-2293
     P.O. BOX 734227                            F:                             TRADE PAYABLE                                                                 $266,946.00
     CHICAGO, IL 60673-4227                     accountsreceivable@quickbase.c
                                                om

    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 1
                                 Case 23-11725-LSS                   Doc 1     Filed 10/13/23              Page 9 of 25


    Debtor Name               MVK FarmCo LLC, et al.                             Case Number


     Name of creditor and complete          Name, telephone number, and     Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated, total claim amount and deduction for value of
                                                                            services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if   Deduction for      Unsecured
                                                                                                                  partially         value of           claim
                                                                                                                  secured           collateral or
                                                                                                                                    setoff


9    TRISTAR RISK MANAGEMENT
                                           P: 562-495-6600
     100 OCEANGATE, STE 840                                                 TRADE PAYABLE                                                               $259,304.62
                                           F:
     LONG BEACH, CA 90802
                                           jessica.herrera@tristargroup.net

10 LIEBELT, INC.
                                           P: 559-638-3771
   492 S. WILLOW GLEN DR                                                    TRADE PAYABLE                                                               $238,416.00
                                           F:
   REEDLEY, CA 93654
                                           myronliebelt@gmail.com

11 SEACA PACKAGING
                                           P: 253-854-9700
   23400 71ST PLACE SOUTH                                                   TRADE PAYABLE                                                               $186,131.17
                                           F:
   KENT, WA 98032
                                           ar@seattlebox.com

12 TJ & SONS AG SERVICES
                                           P: 559-260-0703
   PO BOX 797                                                               TRADE PAYABLE                                                               $158,213.80
                                           F:
   KINGSBURG, CA 93631


13 CROMER MATERIAL HANDLING
                                           P: 510-534-6566
   PO BOX 14338                                                             TRADE PAYABLE                                                               $155,743.95
                                           F:
   OAKLAND, CA 94614-2388
                                           dromero@cromer.com

14 KINGSBURG ORCHARDS                      P: 559-897-5132
   PO BOX 38                               F:                              TRADE PAYABLE                                                                $155,040.00
   KINGSBURG, CA 93631                     receptionist@kingsburgorchards.
                                           com
15 MID VALLEY PACKAGING &
   SUPPLY                                  P: 559-834-5956
                                                                            TRADE PAYABLE                                                               $140,975.63
   PO BOX 96                               F:
   FOWLER, CA 93625                        erikc@mvpsuplly.com

16 SINCLAIR SYSTEMS
   INTERNATIONAL, LLC                      P: 559-233-4501
                                                                            TRADE PAYABLE                                                               $122,333.72
   PO BOX 35143 #40039                     F:
   SEATTLE, WA 98124-5143                  sincalirinfo@sinclair-intl.com

17 DEWEY & SONS, INC.
                                           P: 559-867-3892
   PO BOX 938                                                               TRADE PAYABLE                                                               $114,125.02
                                           F:
   RIVERDALE, CA 9365
                                           deweytrucking@yahoo.com

18 VERDEGAAL BROTHERS INC.
                                           P: 559-582-9205
   13555 S. 11TH STREET                                                     TRADE PAYABLE                                                               $111,952.25
                                           F:
   HANFORD, CA 93230
                                           office@verdegallbrothers.com

19 HELENA AGRI-ENTERPRISES LLC
                               P: 901-761-0050
   PO BOX 305                                                               TRADE PAYABLE                                                               $109,847.25
                               F:
   KERMAN, CA 93630
                               chaveze@helenaagri.com

20 GAR BENNETT LLC
                                           P: 559-904-7739
   PO BOX 31001-3026                                                        TRADE PAYABLE                                                               $93,381.43
                                           F:
   PASADENA, CA 91110-3026
                                           cwhitehead@garbennett.com




    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
                              Case 23-11725-LSS                Doc 1      Filed 10/13/23              Page 10 of 25


 Debtor Name                MVK FarmCo LLC, et al.                           Case Number


   Name of creditor and complete          Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
   mailing address, including zip code    email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                          contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                        professional          unliquidated, total claim amount and deduction for value of
                                                                        services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                              Total claim, if   Deduction for      Unsecured
                                                                                                              partially         value of           claim
                                                                                                              secured           collateral or
                                                                                                                                setoff

                                                                                                                                                    $89,431.65
21 MOTEL 6/STUDIO 6
                                         P: 800-899-9841
   PO BOX 846175                                                        TRADE PAYABLE
                                         F:
   DALLAS, TX 75284-6175
                                         online@motel6.com
                                                                                                                                                    $71,451.60
22 PACE INTERNATIONAL LLC
                                         P: 925-357-6730
   PO BOX 894948                                                        TRADE PAYABLE
                                         F:
   LOS ANGELES, CA 90189-4948
                                         junelle.byrd@paceint.com
                                                                                                                                                    $70,200.00
23 MAXCO SUPPLY INC                      P: 559-646-6700
   PO BOX 814                            F:                          TRADE PAYABLE
   PARLIER, CA 93648                     eden.codde@maxcopackaging.c
                                         om
                                                                                                                                                    $51,717.66
24 KMV FARM LABOR INC
                                         P: 559-318-9153
   2446 MCCALL AVE SUITE 101                                            TRADE PAYABLE
                                         F: 559-318-9460
   SELMA, CA 93662

                                                                                                                                                    $48,757.45
25 TD CONTRACTING
                                         P: 559-591-6308
   968 SIERRA ST. #388                                                  TRADE PAYABLE
                                         F:
   KINGSBURG, CA 93631
                                         aimee@td-contracting.com
                                                                                                                                                    $48,050.00
26 MAS CONTRACTING INC
                                         P: 559-743-5639
   1158 11TH ST                                                         TRADE PAYABLE
                                         F:
   REEDLEY, CA 93654
                                         mascontracting@gmail.com
                                                                                                                                                    $46,600.00
27 CAL-TEX TRANSPORTATION LLC
                              P: 559-625-5204
   515 W SCHOOL AVE                                                     TRADE PAYABLE
                              F:
   VISALIA, CA 93291
                              accounting@caltextrans.net
                                                                                                                                                    $44,111.50
28 ALLEN LUND COMPANY, INC.
                                         P: 800-288-5863
   PO BOX 51083                                                         TRADE PAYABLE
                                         F:
   LOS ANGELES, CA 90051-5383
                                         lindsay.newton@allenlund.com
                                                                                                                                                    $42,662.00
29 FOX SOLUTIONS INC
                                         P: 956-682-6176
   2200 FOX DRIVE                                                       TRADE PAYABLE
                                         F: 956-682-5768
   McALLEN, TX 78504
                                         info@foxbag.com
                                                                                                                                                    $42,490.47
30 CHEP USA
                                         P: 916-642-3743
   FILE 749003                                                          TRADE PAYABLE
                                         F:
   LOS ANGELES, CA 90074-9003
                                         zachary.howe@chep.com




  Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 3
                          Case 23-11725-LSS                      Doc 1     Filed 10/13/23            Page 11 of 25



    Fill in this information to identify the case and this filing:

   Debtor Name          Gerawan Supply, Inc.

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        10/13/2023                                /s/ John Boken
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 John Boken
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                   OMNIBUS WRITTEN CONSENT
       IN LIEU OF MEETINGS OF THE BOARD OF DIRECTORS OR
   BOARD OF MANAGERS, AS APPLICABLE, OF MVK FARMCO LLC AND
 EACH OF THE COMPANIES SET FORTH ON EXHIBIT A ATTACHED HERETO

                                      OCTOBER 13, 2023

        The undersigned being all of the members of the board of directors or board or
managers, as applicable (each, an “Authorizing Body,” and collectively, the “Authorizing
Bodies”) of the entities set forth on Exhibit A attached hereto (each a “Company,” and
collectively, the “Companies”), each organized and existing under the laws of Delaware or
California, as applicable, as set forth in each Company’s limited liability company agreement
or charter of incorporation. The Authorizing Bodies hereby take the following actions and
adopt the following resolutions pursuant to each Company’s bylaws, limited liability company
agreement, or such similar operating document and the applicable laws of the State of Delaware
or California, as applicable.

       WHEREAS, the Authorizing Bodies have reviewed and considered the filing of a
voluntary petitions for relief for each Company under the provisions of chapter 11 of title 11 of
the United States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) pursuant
to applicable law and in accordance with the requirements of each Company’s governing
documents and applicable law (the “Restructuring Matters”),

        WHEREAS, the Authorizing Body of MVK FarmCo LLC, as approved at the meeting
held on February 28, 2023, established the special committee (the “Special Committee”)
comprised solely of disinterested managers with the power and authority to review, evaluate,
and recommend strategic and/or financial alternatives in light of each Company’s cash flow,
liquidity, and general financial condition, including the possibility of seeking financing or
undertaking a sale, recapitalization transaction, or any other reorganization or restructuring,
including a chapter 11 filing,

        WHEREAS, the Special Committee having reviewed, analyzed, and considered the
materials presented by the Companies’ financial and legal advisors, and having had adequate
opportunity to consult such persons regarding the materials presented, obtain additional
information, and to fully consider each of the strategic alternatives available to the Companies,
hereby recommends to the Authorizing Bodies that it is desirable and in the best interests of the
Companies, their creditors, other stakeholders, and other parties in interest, that each Company
shall cause to be filed voluntary petitions for relief under the provisions of the Bankruptcy Code,

       WHEREAS, the Authorizing Bodies have reviewed and considered the
recommendation of the Special Committee and the materials presented by the management of
the Companies and the Companies’ financial and legal advisors, and have had adequate
opportunity to consult such persons regarding the materials presented, obtain additional
information, and to fully consider each of the strategic alternatives available to the Companies,

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the applicable
governing documents of each Company, the undersigned do hereby adopt the following
resolutions:
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                                        Chapter 11 Filing

        RESOLVED, in the business judgment of the Authorizing Bodies it is desirable and in
the best interest of the Companies, their creditors, other stakeholders, and other parties in
interest, that the Companies file or cause to be filed voluntary petitions for relief
(the “Bankruptcy Petitions”) under the provisions of chapter 11 of the Bankruptcy Code in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and any
other petition for relief or recognition or other order that may be desirable under applicable law
in the United States, and, in accordance with the requirements in each Company’s governing
documents and applicable law, hereby consents to, authorizes and approves, the filing of the
Bankruptcy Petitions;

         FURTHER RESOLVED, any manager or other duly appointed officer of the
Companies (collectively, the “Authorized Persons”), which shall include the Interim Chief
Executive Officer, Chief Financial Officer, General Counsel, any Executive Vice President, or
any Senior Vice President, and any successor thereto or any person holding any similar position,
shall be, and each of them individually hereby is, authorized and directed for and on behalf of
each Company to take all actions (including, without limitation, to negotiate and execute any
documents, certificates, supplemental agreements, and instruments) to act as signatory and
attorney on behalf of each Company in respect of the Restructuring Matters and/or any persons
to whom such Authorized Persons and/or officers delegate certain responsibilities, be, and
hereby are, authorized to execute and file on behalf of each Company all petitions, schedules,
lists, and other motions, papers, or documents, and to take any and all action that they deem
necessary or proper to obtain such relief, including, but not limited to, any action necessary or
proper to maintain the ordinary course operations of each Company’s or any of its subsidiary’s
businesses.

                       Use of Cash Collateral and Adequate Protection

        FURTHER RESOLVED, to the extent applicable to the Companies, in the business
judgment of the Authorizing Bodies, it is desirable and in the best interest of the Companies,
their creditors, other stakeholders, and other parties in interest to obtain the benefits of the use
of cash collateral, as such term is defined in section 363(a) of the Bankruptcy Code (“Cash
Collateral”), which is security for certain of the Companies’ prepetition secured lenders
(the “Prepetition Secured Lenders”) under certain credit facilities by and among the Companies,
the guarantors party thereto, and the lenders party thereto;

        FURTHER RESOLVED, that in order to use and obtain the benefits of the Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, each Company will
provide certain adequate protection to the Prepetition Secured Lenders (the “Adequate
Protection Obligations”) as documented in a proposed interim order (the “Cash Collateral
Order”) to be submitted for approval of the Bankruptcy Court;

        FURTHER RESOLVED, that the form, terms, and provisions of the Cash Collateral
Order to which each Company shall be subject, and the actions and transactions contemplated
thereby, are authorized and approved in all respects; and each Authorized Person is authorized,
empowered, and directed in the name of, and on behalf of, each Company, to take such actions
and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause
the performance of, the Cash Collateral Order;
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      FURTHER RESOLVED, each of the Authorized Persons be, and hereby is, authorized,
in the name and on behalf of each Company, to take all such further actions, or cause all such
further actions to be taken and to execute and deliver all such further agreements, documents,
instruments, certificates recordings, and filings, in the name and on behalf of each Company,
as in the determination of such Authorized Person shall be necessary, proper, or advisable in
order to fully carry out the intent and accomplish the purposes of the foregoing resolutions and
to consummate the transactions contemplated thereby, such authority to be conclusively
evidenced by the execution of any document or the taking of any such action by such Authorized
Person;

      FURTHER RESOLVED, each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, each Company to seek authorization
and approval to use Cash Collateral pursuant to the Cash Collateral Order, and any Authorized
Person be, and hereby is, authorized, empowered, and directed to negotiate, execute, and deliver
any and all agreements, instruments, or documents, by or on behalf of each Company, including
the Adequate Protection Obligations to the Prepetition Secured Lenders in accordance with
section 363 of the Bankruptcy Code, as well as any additional or further agreements for the use
of Cash Collateral in connection with the chapter 11 case, which agreements may require the
Companies to grant adequate protection and liens to the Prepetition Secured Lenders and each
other agreement, instrument, or document to be executed and delivered in connection therewith,
by or on behalf of the Companies pursuant thereto or in connection therewith, all with such
changes therein and additions thereto as any Authorized Person approves, such approval to be
conclusively evidenced by the taking of such action or by the execution and delivery thereof;

                                   Retention of Professionals

        FURTHER RESOLVED, each of the Authorized Persons, be, and hereby is,
authorized, empowered, and directed to employ on behalf of each Company: (i) the law firm
of Kirkland & Ellis LLP and Kirkland & Ellis International LLP (together, “Kirkland”) as
bankruptcy counsel; (ii) the law firm of Young Conaway Stargatt & Taylor, LLP as local
bankruptcy counsel; (iii) Houlihan Lokey as investment banker; (iv) AP Services, LLC as
interim management and restructuring support; (v) Stretto, Inc. as claims and noticing agent;
and (vi) any other legal counsel, accountants, financial advisors, restructuring advisors, or other
professionals the Authorized Persons deem necessary, appropriate or advisable (each, a
“Professional” and collectively, the “Professionals”); each to represent and assist the
Companies in carrying out its duties and responsibilities and exercising its rights under the
Bankruptcy Code and any applicable law (including, but not limited to, the law firms filing any
pleadings or responses); and in connection therewith, the Authorized Persons, be, and each of
them individually hereby are authorized, empowered and directed, in accordance with the terms
and conditions hereof, to execute appropriate retention and employment agreements, pay
appropriate retainers, and cause to be filed appropriate applications for authority to retain such
services; and

         FURTHER RESOLVED, each of the Authorized Persons, be, and hereby is,
authorized, empowered and directed to execute and file, or direct the Company’s Professionals
to file, all petitions, schedules, motions, lists, applications, pleadings, and other papers, and to
perform such further actions and execute such further documentation that the Authorized
Persons in their absolute discretion deem necessary, appropriate or desirable in accordance with
these resolutions.
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                              Further Actions and Prior Actions

        FURTHER RESOLVED, the Companies are hereby authorized to authorize (and each
Company hereby authorizes) any direct or indirect subsidiary of each Company or any entity of
which such Company or any subsidiary of such Company is the sole member, general partner,
managing member, or equivalent manager, as applicable, to take each of the actions described
in these resolutions or any of the actions authorized in these resolutions, and none of the
resolutions contained herein, or action taken in furtherance hereto, shall have or cause an
adverse effect on any such subsidiary or such Company’s interest therein (including without
limitation, any automatic dissolution, divestiture, dissociation, or like event under applicable
law);

        FURTHER RESOLVED, in addition to the specific authorizations heretofore
conferred upon such Authorized Persons, the Authorized Persons, either individually or as
otherwise required by each Company’s governing documents and applicable law, be, and each
of them hereby is, authorized to execute, acknowledge, deliver, and file any and all agreements,
certificates, instruments, powers of attorney, letters, forms, transfer, deeds and other documents
on behalf of each Company relating to the Restructuring Matters;

        FURTHER RESOLVED, each of the Authorized Persons (and their designees and
delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of each
Company, to take or cause to be taken any all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in
such Authorized Person’s or Authorized Persons’ absolute discretion, shall be necessary,
appropriate, or desirable in order to fully carry out the intent and accomplish the purposes of
the resolution adopted herein;

        FURTHER RESOLVED, the Authorizing Bodies have received sufficient notice of
the actions and transactions relating to the matters contemplated by the foregoing resolutions,
as may be required by the governing documents of each Company, or hereby waives any right
to have received such notice;

        FURTHER RESOLVED, all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved, confirmed
and ratified as the true acts and deeds of each Company with the same force and effect as if
each such act, transaction, agreement, or certificate had been specifically authorized in advance
by resolution of the Authorizing Bodies; and

        FURTHER RESOLVED, any Authorized Person be, and each of them hereby is,
authorized to do all such other acts, deeds and other things as each Company itself may lawfully
do, in accordance with its governing documents and applicable law, howsoever arising in
connection with the matters above, or in furtherance of the intentions expressed in the foregoing
resolutions, including, but not limited to, the negotiation, finalization, execution and delivery
of any other agreements, certificates, instruments, powers of attorney, letters, forms, transfer,
deeds and other documents whatsoever as the individual acting may in his/her absolute and
unfettered discretion approve, deem or determine necessary, appropriate or advisable, such
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approval, deeming or determination to be conclusively evidenced by said individual taking such
action or the execution thereof.



                               *       *      *      *        *

                                   [Signature Page Follows]
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IN WITNESS WHEREOF, the undersigned have executed this resolution as of the date first
set forth above.




                                           By:
                                           Name: Edward Haft

                                           By:
                                           Name: Theodore Kruttschnitt

                                           By:
                                           Name: Steven Bierschenk

                                           By:
                                           Name: Mark Rodriguez

                                           By:
                                           Name: Aron Schwartz

                                           By:
                                           Name: Lutz Goedde


                                           BEING ALL THE MEMBERS OF THE BOARD
                                           OF MANAGERS OF:

                                           MVK FARMCO LLC




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IN WITNESS WHEREOF, the undersigned have executed this resolution as of the date first
set forth above.




                                           By:
                                           Name: Edward Haft

                                           By:
                                           Name: Theodore Kruttschnitt

                                           By:
                                           Name: Steven Bierschenk

                                           By:
                                           Name: Mark Rodriguez

                                           By:
                                           Name: Aron Schwartz

                                           By:
                                           Name: Lutz Goedde


                                           BEING ALL THE MEMBERS OF THE BOARD
                                           OF MANAGERS OF:

                                           MVK FARMCO LLC




                       [Signature Page to Omnibus Filing Resolution]
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IN WITNESS WHEREOF, the undersigned have executed this resolution as of the date first
set forth above.




                                           By:
                                           Name: Edward Haft

                                           By:
                                           Name: Theodore Kruttschnitt

                                           By:
                                           Name: Steven Bierschenk

                                           By:
                                           Name: Mark Rodriguez

                                           By:
                                           Name: Aron Schwartz

                                           By:
                                           Name: Lutz Goedde


                                           BEING ALL THE MEMBERS OF THE BOARD
                                           OF MANAGERS OF:

                                           MVK FARMCO LLC




                       [Signature Page to Omnibus Filing Resolution]
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IN WITNESS WHEREOF, the undersigned have executed this resolution as of the date first
set forth above.




                                           By:
                                           Name: Edward Haft

                                           By:
                                           Name: Theodore Kruttschnitt

                                           By:
                                           Name: Steven Bierschenk

                                           By:
                                           Name: Mark Rodriguez

                                           By:
                                           Name: Aron Schwartz

                                           By:
                                           Name: Lutz Goedde


                                           BEING ALL THE MEMBERS OF THE BOARD
                                           OF MANAGERS OF:

                                           MVK FARMCO LLC




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                             By:
                             Name: Angelos Dassios

                             By:
                             Name: Edward Haft


                             BEING ALL THE MEMBERS OF THE BOARD
                             OF DIRECTORS OR BOARD OF MANAGERS,
                             AS APPLICABLE, OF EACH OF:

                             WAWONA FARM CO. LLC
                             WAWONA PACKING CO. LLC
                             MVK INTERMEDIATE HOLDINGS LLC
                             GERAWAN SUPPLY, INC.
                             GERAWAN FARMING LLC
                             GERAWAN FARMING SERVICES LLC
                             GFP LLC
                             GERAWAN FARMING PARTNERS LLC




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                             By:
                             Name: Angelos Dassios

                             By:
                             Name: Edward Haft


                             BEING ALL THE MEMBERS OF THE BOARD
                             OF DIRECTORS OR BOARD OF MANAGERS,
                             AS APPLICABLE, OF EACH OF:

                             WAWONA FARM CO. LLC
                             WAWONA PACKING CO. LLC
                             MVK INTERMEDIATE HOLDINGS LLC
                             GERAWAN SUPPLY, INC.
                             GERAWAN FARMING LLC
                             GERAWAN FARMING SERVICES LLC
                             GFP LLC
                             GERAWAN FARMING PARTNERS LLC




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                                  Exhibit A

MVK FarmCo LLC
Wawona Farm Co. LLC
Wawona Packing Co. LLC
MVK Intermediate Holdings LLC
Gerawan Supply, Inc.
Gerawan Farming LLC
Gerawan Farming Services LLC
GFP LLC
Gerawan Farming Partners LLC
